Case 20-20425-GLT         Doc 275 Filed 04/27/21 Entered 04/27/21 13:46:33                     Desc Ntc
                               Ord Set Hrg Expd Page 1 of 1
 Form 611
                      IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE WESTERN DISTRICT OF PENNSYLVANIA

  IN RE:

  VideoMining Corporation                            :         Case No. 20−20425−GLT
  25−1853162                                         :         Chapter: 11
       Debtor(s)                                     :
                                                     :
  VideoMining Corporation                            :
         Movant(s),                                  :         Related to Doc. No. 274
                                                     :
         v.                                          :         Hearing Date: 4/29/21 at 11:00 AM
  Enterprise Bank, White Oak Business Capital,       :         Response Date: 4/29/21 at 9
  Inc., and The Internal Revenue Service,            :
            Respondent(s).                           :
                                                     :

            NOTICE AND ORDER SETTING HEARING ON AN EXPEDITED BASIS

           NOTICE IS HEREBY GIVEN THAT an expedited motion entitled Authorize Continued
 Use of Cash Collateral, Extend Maturity Date of DIP Loan and Approve Bridge LN has been filed in
 the above−referenced case by Debtor .

           A hearing has been scheduled for April 29, 2021 at 11:00 AM in Zoom location,
 https://www.zoomgov.com/j/. All parties wishing to appear by video conference must register by
 submitting a video conference registration form via the link published on Judge Taddonio's website
 (http://www.pawb.uscourts.gov/procedures−2) no later than 4 p.m. on the business day prior to a
 scheduled hearing. All counsel and parties participating by video conference shall comply with Judge
 Taddonio's Modified Procedures for Remote Participation.

            Responses to the Motion shall be filed with the Clerk of the Bankruptcy Court and served
 on parties in interest on or before April 29, 2021 by 9:00 a.m..

            A courtesy copy of all responses shall be delivered to chambers with the filing.

          Service shall be made as directed below. A certificate of service shall be filed with the
 Clerk immediately.

  Dated: April 27, 2021

  cm: Debtor
      Robert O Lampl, Esq.



 Movant shall immediately serve a copy of this scheduling Order and the Motion by hand delivery,
 e−mail, or facsimile on the Respondent(s), any appointed trustee, Debtor(s), Debtor(s)' Attorney, all
 secured creditors whose interests may be affected by the relief requested, the U.S. Trustee, and the
 attorney for any committee. In the absence of a committee, the Movant shall serve the 20 largest
 unsecured creditors. Movant shall deliver a paper copy of the motion and this notice of hearing to
 chambers.




                                                 Page 1
